                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE


 UNITED STATES OF AMERICA,                     )
                                               )
                Plaintiff,                     )
                                               )
 v.                                            )              No. 3:05-CR-124
                                               )              (JORDAN/GUYTON)
 AMANDA HENRY,                                 )
                                               )
                Defendant.                     )

                                              ORDER

                All pretrial motions in this case have been referred to the undersigned pursuant to 28

 U.S.C. § 636(b) for disposition or report and recommendation regarding disposition by the District

 Court as may be appropriate. This matter is before this Court on Defendant’s Motion in Limine

 [Doc. 206].

                On March 14, 2007, Defendant entered a plea agreement [Doc. 209] as to all charges

 in the indictment in this matter. Accordingly, Defendant’s Motion in Limine [Doc. 206] is DENIED

 as moot.

                IT IS SO ORDERED.

                                               ENTER:


                                                     s/ H. Bruce Guyton
                                               United States Magistrate Judge




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